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Case 2:17-cv-08444-ILRL-MBN Document 1-1 Filed 08/29/17 Page 1 of 23

Jon A. Gegenheimer
JEFFERSON PARISH CLERK OF COURT

UNITED STATES OF AMERICA
STATE OF LOUISIANA
PARISH OF JEFFERSON AUGUST 24 99 17

I, RANDI N PRISCO , Deputy Clerk for the

24h Judicial District Court, State of Louisiana, do hereby certify that the attached is a

true and correct certified copy of the entire proceeding entitled

STATE OF LOUISIANA
24th Judicial District Court for the Parish of Jefferson

No.: 174-782 Division: “©

ny

 

LOGAN LANDRY

vs.

PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC, POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC, POSIGEN OF LOUISIANA LLC, TOM NEYHART
of the Civil Docket of the 24% Judicial District Court, State of Louisiana.

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JON A. GEGENHEIMER
Jefferson Parish Clerk of Court

 

 

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Deputy Clerk of Court

Date: AUGUST 24 99 17
 

 

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LOUISIANA CIVIL CASE REPORTHNG: P. inaratis Be GEae OSS
Civil Case Cover Sheet - LA. R.S, 13:4688°bird§ PAREH. LA
Part G, §13, Louisiana Supreme Court General Administrative Rules

CODED

This civil case cover sheet shall be completed by counsel for the petitioner, counsel’s authorized '
representative, or by the self-represented litigant (if not represented by counsel) and submitted with the
original petition filed with the court. The information should be the best available at the time of filing.
This information does not constitute a discovery request, response or supplementation, and is not
admissible at trial.

Suit Caption:

Logan Land nf
Fosigen Ine CF UL.

Court: 24th Judicial District . Docket Number: Tu k2 a

 

Parish of Filing: Jefferson Filing Date: Y-Z-|7]

 

 

 

 

Name of Lead Petitioner’s Attorney: Cy ‘} len iY). iv

 

Name of Self-Represented Litigant:

 

Number of named petitioners: | Number of named defendants: | 0.

Type of Lawsuit: Please check the categories which most appropriately apply to this suit
(no more than 3 categories should be checked):

 

[ JAuto: Personal Injury [_] Auto: Property Damage

L JAuto: Wrongful Death [_] Auto: Uninsured Motorist

[ JAsbestos: Property Damage L_] Asbestos: Personal Injury/Death
[Product Liability [_] Premise Liability

[Intentional Bodily Injury ["] Intentional Property Damage
{_JIntentional Wrongful Death [] Unfair Business Practice

[ JBusiness Tort [_] Fraud

[]Defamation [-] Professional Negligence
(Environmental Tort [-] Medical Malpractice

[J Intellectual Property [] Toxic Tort

[-] Legal Malpractice L_] Other Tort (describe below)

[-] Other Professional Malpractice [_] Redhibition

[_] Maritime [_] Class action (nature of case)

[_] Wrongful Death

(JGeneral Negligence :

Please briefly describe the nature of the litigation in one sentence of additional detail:

Following the completion of this form by counsel, counsel’s representative, or by the self-represented
litigant, this document will be submitted to the Office of the Judicial Administrator, Supreme Court of
Louisiana, by the Clerk of Court.

Name, address and contact information of person completing form:

Name Palen UU. bale Signature
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24™ JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

STATE OF LOUISIANA
no. TH-“ FBZ
LOGAN LANDRY
VS.

POSIGEN, INC.; POSIGEN, LLC; POSIGEN GP, LLC; POSIGEN ENERGY
EFFICIENCY OF LOUISIANA, LLC; POSIGEN OF LOUISIANA, LLC;
AND TOM NEYHART

‘FILED:

 

 

DEPUTY CLERK
PETITION FOR DAMAGES

 

Plaintiff, Logan Landry, respectfully avers the following:

PARTIES

1. Logan Landry is a person of the age of majority formerly residing in New Orleans,
Louisiana.

2. PosiGen, Inc. is a corporation registered in Delaware that is not formally authorized to do
business in Louisiana, but does business in Louisiana as a result.

3. PosiGen, LLC is a limited liability company with its principal office in Jefferson Parish.

4. PosiGen GP, LLC is a limited liability company with its principal office in Jefferson Parish.

5. PosiGen Energy Efficiency of Louisiana, LLC is a limited liability company with its
principal office in Jefferson Parish.

6. PosiGen of Louisiana, LLC is a limited liability company with its principal office in
Jefferson Parish.

7. The PosiGen entities in paragraphs 2-6 are collectively referred to as “PosiGen”
throughout,

8. Tom Neyhart is a person of the age of majority that can be found in the parish of Jefferson.

9. Discussed below are fraudulent and ultra vires acts.

10. Because of the nature of some of these actions, Mr. Neyhart is personally liable for some

of the actions.

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, Case 2:17-cv-08444-ILRL-MBN Document 1-1 Filed 08/29/17 Page 4 of 23

11. Moreover, no meaningful separation was provided in the employment of Landry.
Accordingly, all of the PosiGen entities are jointly and solidarily liable for the torts of
another. In fact, PosiGen worked with such little formal separation to the point that it would
be virtually impossible to distinguish between the different entities.

GENERAL BACKGROUND

 

12. Mr. Landry was a partial owner of BLG. PosiGen acquired BLG in 2014.

13. As part of this acquisition, Mr. Landry was offered a 2-year employment contract, attached
hereto as “Exhibit A” which was executed June 20, 2014. One of the many terms of the
contract was that Mr. Landry’s primary office would be in Houma, Louisiana.

14. Under the employment contract, Mr, Landry's official position was “Regional Director of
Operations.”

15. Among others, the terms .of the contract provided for incentives and stock options, an
annualized salary of $175,000, a bonus program, and additional expenses including
reimbursement for expenses incurred in connection with the performance of his duties.

16. Upon information and belief, the stock options and incentives were promised to lure Mr,
Landry into an employment contract with PosiGen to secure the acquisition of BLG.

17. While PosiGen has multiple lines of business and multiple entities, its primary line of
business is in solar installation for residential use.

18. Typically, PosiGen uses government tax credits to fund the purchase and installation of -
solar panels on homes and charges the homeowners a monthly fee, with tax credits going
to a bank who finances the cost. Critical to the award of tax credits are the completions of

installations.

19. Upon information and belief, the ownership of PosiGen consists of:

 

 

 

 

 

 

 

 

 

   

 

Goldman Sachs 8% (Series A)
New World Capital 25% (Series B)
Constellation ~5% (Series B)
Callais Capital ~5% (Series C)
Sunrun 5% (this classification is in contention)
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Tom Neyhart 17%

Aaron Dirks 17%

Ben Norwood ~2% (Restricted)
Options Pool Remaining

 

 

 

 

20. Until recently, the Board of Directors consisted of Tom Neyhart, Lisa Neyhart, New World

2i.

Capital (2 seats), Goldman Sachs (1 seat), Tim Anderson, and Aaron Dirks. Upon
information and belief, there may have been a change to this composition recently.
The lease terms on these types of solar installations are scheduled to be 20-year leases and

carry an average approximate monthly cost of ~$55.00 depending on the size and location

of the installation.

22. In or around October 2014, in violation of the terms of the employment agreement, Mr.

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Landry's principal office was changed from Houma to New Orleans, This change came
with increased responsibilities and increased his commute by 2.5 hours a day. Despite
increasing his responsibilities, daily commute, and expenses, Mr. Landry’s compensation
was not increased to reflect this. Additionally, this commute caused Mr. Landry severe
emotional distress as he was required to spend a significant amount of time away from his
farnily.

Throughout his employment with PosiGen, he was promised bonuses amounting to
approximately 30% of this annual salary. Because he trusted PosiGen to honor these
commitments, Mr. Landry relied on said promises to his detriment. Currently, the
outstanding balance of unpaid bonuses promised to Mr. Landry, and acknowledged by Tom
Neyhart and others, is approximately $90,000. Due to an agreement forced upon Mr.
Landry by Mr. Neyhart on August 4, 2016, Mr. Landry agreed to payment of 50% of the
earned bonuses, amounting to $45,000 to lessen the financial burden on the company.
After the expiration of the employment contract, Mr. Landry continued to work for

PosiGen despite a $31,000 annual decrease in salary and refusal of a new employment

contract.

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25. In addition to the aforementioned debts, there exists an outstanding balance due to the
mishandling of the BLG acquisition in the amount of $21,000. This breaks down to $16,000
plus at least one year of interest. This mishandling has been acknowledged multiple times,
and the debt has been acknowledged, however PosiGen has since repudiated the debt
balance,

26. Neyhart has been problematic for PosiGen at best.

27. He willingly and knowingly falsified completion dates (critical to tax credits being earned)
on projects to banks, customers, investors, and upon information and belief to
governmental entities.

28. He has willingly and knowingly hidden inventory when an inspection was set to take place.

29. He has created a hostile and negative work environment for PosiGen’s employees,
including Mr. Landry.

30. PosiGen has a history of reported workplace problems including a lawsuit filed by an

attorney regarding racial workplace discrimination. The plaintiff in that matter was

Michelle Charles.

31, That same attorney, Michelle Charles, claimed that there were unpaid bonuses.

32. Ultimately, that matter was dismissed by joint motion claiming the matter had been
“resolved.”

33. A former COO of the Company, John Pinholster, sued in Orleans Parish Civil District
Court for $753,459 in unpaid wages and bonus proceeds.

34. That matter, too, was compromised and settled.

35. In fact, PosiGen’s and Neyhart’s mode of doing business is essentially not to pay amounts
‘owed until absolutely forced to do so.

36. In April of 2014, PosiGen came to the local spotlight when it was disclosed that Tom
Neyhart had been charged with two felony offenses stemming from an incident in Las
Vegas. The charges were allegedly battery with substantial bodily harm and mayhem.

37. Tom Neyhart had accepted a plea deal in September of 2002 and pleaded guilty to the

battery charge. He was sentenced to five years on probation and ordered to pay $100,000

   

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38. The problem came in that PosiGen and Neyhart did not disclose this conviction in its state

contractors’ license application when asked if any of the principals of the company have

been convicted of any crimes — felonies, or misdemeanors that go beyond routine traffic

matters,

39. Neyhart’s reason for his lack of disclosure was, implausibly, his lack of attention to detail.

40, Neyhart was Louisiana’s top political donor for 2014 donating at least $86,362 to

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43.

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candidates over the course of the 2014. Ben Norwood an associate of Neyhart’s and
PosiGen’s Chief Legal Counsel was the second highest political donor giving roughly
$70,000 to candidates. The third largest donor of that cycle was PosiGen itself.

Mr. Landry resigned from PosiGen in August 2016 for many of the above-stated financial
wrongs, however, more importantly, due to the stress of'a hostile work environment. In the
course and scope of his employment, Mr. Landry was asked on a constant basis to perform
unethical, fraudulent, and often illegal conduct. These activities include, but are not limited
to, falsifying documents, lying about the status of a project to continue to receive
government funding, hiding inventory prior to audits, and other illicit acts. He was
additionally asked to meet a monthly installation quota by any means necessary, including
photoshopping equipment onto roofs in photographs to forge proof of installation. He
refused this demand, which insured that his future at PosiGen was limited.

Mr. Landry objected to and refused to participate in PosiGen’s unethical and unlawful
conduct, but the behavior continued.

After repeatedly asking PosiGen to honor its financial obligations, Mr. Neyhart offered a
settlement amount and payment plan over breakfast on August 1, 2016. Out of fear that
Mr. Neyhart would again refuse to honor his promise, Mr. Landry emailed Neyhart to have

written documentation in an effort to ensure this promise would be kept. Neyhart agreed to

the following terms:
a. $30,000 in earned incentive income;
b. enough Delta Sky Miles to cover the average mileage cost of (2) first class tickets,
or 200,000 miles to be issued no later than Monday, August 8, 2016;
c. The above amounts, totaling $46,000 to be paid in (2) installments:

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i. $25,000 on Monday, August 8, 2016;
ii. $21,000 no later than December 1, 2016, or, any prior month that PosiGen
installs 250 PV systems.
44, Mr. Landry resigned, with notice, on August 8; 2016 due to the emotional and financial
distress which resulted from PosiGen’s actions and hostile environment.
45. Mr. Landry has engaged in countless communications with Mr. Neyhart and other PosiGen
employees in hopes that they would honor their commitments. Yet, throughout his

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employment and currently they withhold substantial amount of money that they have
acknowledged is owed to Mr. Landry.

46. Upon information and belief this failure to pay Mr. Landry was intentional and Neyhart

. and PosiGen fraudulently induced Mr. Landry into employment, continued employment,

and ultimately resignation based on false representations and a pattern of fraud.

 

47. Mr. Landry is entitled to all unpaid bonuses, outstanding debt, and damages.

CLAIMS

48, All of the above paragraphs are expressly incorporated as if restated herein.

49. Under La. C.C. art 1986, Mr. Landry is entitled to damages, specific performance, or both
for breach of contract.

50. Mr. Landry is entitled to damages caused by Defendants’ breach of the covenant of good
faith and fair dealing that is implied in every contract.

51. Mr. Landry is entitled to bonuses and other debts to the extent that PosiGen was unjustly
enriched under La. C.C. art. 2298.

52. Mr. Landry is entitled to damages resulting from Defendants’ breach of fiduciary duty
under La. Rev. Stat. § 11:264.5 by withholding monies known to be owed to Mr. Landry.

53. Mr. Landry suffered financial harm as well as emotional distress and mental anguish.

54. PosiGen’s and Neyhart’s actions in insisting Mr. Landry engage in illegal or unethical
conduct were so outrageous and beyond the bounds of what is acceptable, that Mr. Landry

began to suffer from extreme emotional distress.

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55. Mr. Landry is entitled to damages for harm suffered as a result of Defendants’ conduct in
participation in the racketeering activity of transmitting fraudulent and forged documents,
in which they forced Mr. Landry to participate, in violation of 18 U.S.C. § 1962.

36. Mr. Landry is entitled to damages for harm suffered which resulted from reliance on —
Defendants’ promises to his detriment under La. Civ. Code art. 1967.

57. Mr. Landry is entitled to damages resulting from Defendants’ fraudulent
misrepresentations regarding the stock options purchase agreement which induced the
acquisition of BLG under La. Civ. Code art 1953.

58. Defendants conspired to commit the intentional acts of fraud, unjust enrichment, breach of
contract, breach of fiduciary duty, intentional infliction of emotional distress, and breach

of covenant of good faith and are liable in solido for damages caused by such acts under

La, Civ. Code art 2324,

JURY REQUEST

59. For any and all claims subject to the same, a trial by jury is requested. -
PRAYER FOR RELIEF
WHEREFORE, Petitioner prays that after due proceedings be had, there be judgment in his
favor:
a. Against PosiGen for all debts owed through August 8, 2016;
b, Against Neyhart and PosiGen for intentional infliction of emotional distress;
c. Against Neyhart and PosiGen for breach of contract.
d. Against Neyhart and PosiGen for unjust enrichment.
e. Against Neyhart and PosiGen for breach of fiduciary duty.
f. Against Neyhart and PosiGen for damages caused by participation in racketeering
activity.
g. Against Neyhart and PosiGen for detrimental reliance.
h. Against Neyhart and all PosiGen entities for conspiracy.

i. Any and all other claims that the facts above justify;

j. Attorneys’ fees and court costs;

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k. Legal interest;
1. Any other claims that may be equitable.

Respectfully submitted,

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Galea M. Hair, LSBA No. 32865
Join E. Bicknell, Jt, LSBA No, 36802
Sarah.M. Kalis, [SBA No. 37186.
SCOTT, VICKNAIR, HAIR

& CHECKI, LLC.

909 ‘Poxidias Street, Suite 1100
New Orleans, LA 70112
Telephone: (504) 684-5200
Facsimile: (504) 613-6351
hait@whelaw.cona
jobn@vhelaw.com.

Counsel jor Logan Landry

PLEASE SERVE:

Pogigen, Ine, _
Through the Louisiana Secretary of State
83585 Archives Ave,

Baton Rouge, LA 70809

Posigen, LLC

Through its registered agent for service of process:
Benjamin Norwood

819-Central Ave., Ste. 210.

Jefferson, LA 70121

Posigen'GP, LLC

Through its registered agent for service of process:
Kimm Freeman:

819.Central Ave., Sie. 210:

Jefferson,. LA 7012)

Posigen. Energy Efficiency of Louisiana, ELC
‘Through its registered agent for service of process:
Thomas, Neyhart

819 Central Ave. Ste. 210

Jefigtson, LA 70121

Posigen of Lousisiana, LLC

Through its registered agent for.service of process:
‘Thomas: Neyhart

819 Central Ave., Ste. 210

Jefferson, EA. 70121

Tom Neyhart ~ PERSONAL ONLY
$19 Central Ave., Ste. 210
Jefferson, LA 70121

 

 

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Case 2:17-cv-08444-ILRL-MBN Document 1-1 Filed 08/29/17 Page 11 of 23

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JON A. GEGENHEIMER

JEFFERSON PARISH CLERK OF COURT

24% Judicial District Court Civil Records Department
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JON A. GEGENHEIMER

 

24™ JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

STATE OF LOUISIANA

no. TC. WZ DIV. “

LOGAN LANDRY
vs.

POSIGEN, INC.; POSIGEN, LLC; POSIGEN GP, LLC; POSIGEN ENERGY
EFFICIENCY OF LOUISIANA, LLC; POSIGEN OF LOUISIANA, LLC;

 

Case 2:17-cv-08444-ILRL-MBN Document 1-1 Filed 08/29/17 Page LpROS

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AND TOM NEYHART
FILED:
DEPUTY CLERK
AFFIDAVIT OF VERIFICATION.
STATE OF VIRIGINA
COUNTY OF ALBEMARLE

Now before me, Notary Public, came and appeared:

LOGAN LANDRY

who after being duly sworn did depose and state:

1. He is a person of the age of majority and is competent to make this affidavit.

2. He has read the above Petition for Damages and that the allegations therein are true and

correct to the best of his knowledge and belief

  

 

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24th E-Filed: 08/08/2017 10:23:56 Case: 774782 Div:C Atty:032865 GALEN M HAIR

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(101) CITATION: PETITION FOR DAMAGES: AFFIDAVIT OF eanr.
VERIFICATION 170810-9407-4
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 Div: "C"
P 1 LOGAN LANDRY

To: POSIGEN LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

BENJAMIN NORWOOD

819 CENTRAL AVE STE 210

JEFFERSON LA 70121

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES/ AFFIDAVIT OF VERIFICATION of which a true and correct copy accompanies this
citation, or make an appearance either by filing a pleading or otherwise, in the 24th Judicial
District Court in and for the Parish of Jefferson, State of Louisiana, within FIFTEEN (15)
CALENDAR days after the service hereof, under penalty of default.

This service was requested by attorney GALEN M. HAIR and was issued by the Clerk of Court
on the 10th day of August, 2017.

/s/ Giselle A Leglue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-9407-4

Received: Served: Returned:

Service was made:
Personal Domicilary

Unable to serve:
____ Not at this address Numerous attempts times
___ Vacant Received too late to serve
___ Moved No tonger works at this address
___ No such address Need apartment / building number
Other :

 

Service: § Mileage: $ Total: $

Completed by: #
Parish of:

Deputy Sheriff

 

 

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JON A, Ré@mudmot 1

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF _ ;
VERIFICATION 170810-9408-2

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOQUISIANA LLC, TOM NEYHART

Case: 774-782 = Div: "C"
P 1 LOGAN LANDRY

To: POSIGEN GP LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

KIMM FREEMAN

819 CENTRAL AVE STE 210

JEFFERSON LA 70121

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES/ AFFIDAVIT OF VERIFICATION of which a true and correct copy accompanies this
citation, or make an appearance either by filing a pleading or otherwise, in the:24th Judicial
District Court in and for the Parish of Jefferson, State of Louisiana, within FIFTEEN (15)
CALENDAR days after the service hereof, under penalty of default.

This service was requested by attorney GALEN M. HAIR and was issued by the Clerk of Court
on the 10th day of August, 2017.

/s/ Giselle A Legiue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF . 7
VERIFICATION 170810-9408-2

Received:___ Served: Returned:

Service was made:
Personal Domicilary

Unable to serve:
____ Not at this address Numerous attempts times
___ Vacant Received too late to serve
____ Moved No longer works at this address
____ No such address Need apariment/ building number
Other

 

Service: $ Mileage: $ Total: $.

Completed by: #
Deputy Sheriff

Parish of:

 

   

pons 08/24/2017 11:41:00 CERTIFIED TRUE COPY - Pg:2 of 5 - Jefferson Parish Clerk of Court - ID:1728787
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(101) CITATION: PETITION FOR DAMAGES: AFFIDAVIT OF eine.
VERIFICATION 170810-9409-0
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 Div: "Cc"
P 1 LOGAN LANDRY

To: POSIGEN ENERGY EFFICIENCY OF LOUISIANA
LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

THOMAS NEYHART

819 CENTRAL AVE STE 210

JEFFERSON LA 70121¢

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
DAMAGES/ AFFIDAVIT OF VERIFICATION of which a true and correct copy accompanies this
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Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-9409-0

Received: Served: Returned:

Service was made:
Personal Domicilary

Unable to serve:
____ Not at this address Numerous attempts times
___ Vaeant Received too late to serve
____ Moved Na longer works at this address
____ No such address Need apartment/ building number
Other

 

 

Service: $ Mileage: $ Total: $

Completed by. #
Deputy Sheriff

Parish of:

 

     
  

3. $
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(101) CITATION: PETITION FOR DAMAGES: AFFIDAVIT OF atin.
VERIFICATION 170810-9410-8
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 = Div: "C"
P 1 LOGAN LANDRY

To: POSIGEN OF LOUISIANA LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

THOMAS NEYHART

819 CENTRAL AVE STE 210

JEFFERSON LA 70121

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
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Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-94 10-8

Received: Served: Returned:

Service was made:

____ Personal ___ Domicilary
Unable to serve:
___ Not at this address Numerous attempts times

Received too late to serve
No longer works at this address
Need apartment / building number

___ Vacant
___ Moved
___ No such address
___ Other

 

Service: $ Mileage: $ Total: $

Completed by: #
Deputy Sheriff

Parish of:

 

    

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Geass 08/24/2017 11:41:00 CERTIFIED TRUE COPY - Pg:5 of 5 - Jefferson Parish Clerk of Court - ID:1728787

(101) CITATION: PETITION FOR DAMAGES: AFFIDAVIT OF ;
VERIFICATION 170810-9411-6
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 Div: "Cc"
P 1 LOGAN LANDRY

To: TOM NEYHART
PERSONAL ONLY
819 CENTRAL AVE
SUITE 210
JEFFERSON LA 70121

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
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Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-9411-6

Received: Served: Returned:

Service was made:
Personal Domicilary

Unable to serve:
___ Not at this address Numerous attempts times
____ Vacant Received too late to serve
___ Moved No longer works at this address
____No such address Need apartment / building number
Other

 

Service: $ Mileage: $ Total: $

Completed by: #
Deputy Sheriff

Parish of:

 

     

  

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Imanad N@i4ni9n17 10°92 ~ Siqnad: Naniitu Clark of Cort /<¢/ Cic3allea Al aqiiuea
 

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(101) CITATION: PETITION FOR DAMAGES: AFFIDAVIT OF
VERIFICATION 170810-9557-6
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 = Div: "C"
P 1 LOGAN LANDRY

To: PSOIGEN INC S/S CK#2122
THROUGH THE LOUISIANA SECRETARY OF STATE $50.00
8585 ARCHIVES AVE EBR CK#2121
BATON ROUGE LA 70809¢ $29.86

PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
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/s/ Giselle A Leglue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-9557-6

Received: Served: Returned:

Service was made:

____ Personal ____ Domicilary
Unable to serve:
___ Not at this address ___ Numerous attempts times
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Need apartment / building number

 

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Completed by: #
. Deputy Sheriff
Parish of:

 

 

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF ; _
VERIFICATION 170810-9407-4

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

Case: 774-782 Div: ""C"
P 1 LOGAN LANDRY

To: POSIGEN LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE

OF PROCESS:

BENJAMIN NORWOOD

819 CENTRAL AVE STE 210

JEFFERSON LA 70121 1G -&

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PARISH OF JEFFERSON

You are hereby summoned to comply with the demand contained in the PETITION FOR
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/s/ Giselle A Legiue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

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SERVICE INFORMATION

 

 

(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF

VERIFICATION 170810-9407-

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF ; ;
VERIFICATION 170810-9408-2

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY
Versus Case: 774-782 Div: "C"

PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC,
POSIGEN ENERGY EFFICIENCY OF LOUISIANALLC, > | LOGAN LANDRY
POSIGEN OF LOUISIANA LLC, TOM NEYHART

To: POSIGEN GP LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

KIMM FREEMAN

819 CENTRAL AVE STE 210

JEFFERSON LA 70121

[WAGED vc 18 2007

PARISH OF JEFFERSON

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/s/ Giselle A Leglue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

 

 

 

 

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF srostoosae WOO
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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF . .
VERIFICATION 170810-9411-6

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

= pealael Case: 774-782 Div: "C"
v7! PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC, DT LOGAN LANDRY

3 POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,

Poet OF LOUISIANA LLC, TOM NEYHART

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PG bi To: TOM NEYHART
ef PERSONAL ONLY
2=819 CENTRAL AVE
“SUITE 210
JEFFERSON LA 70121

PARISH OF JEFFERSON

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/s/ Giselle A Leqlue
Giselle A Leglue, Deputy Clerk of Court for
Jon A. Gegenheimer, Clerk of Court

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SERVICE INFORMATION

 

 

 

 

 

 

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF 470810-9414-6 ‘
VERIFICATION AY

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___ Vacant ___ Received too late to serve # om

___ Moved ____ No longer works at this address a a

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Parish of: WA f anal ZZ

 

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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF . 7
VERIFICATION 170810-9410-8

 

 

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

LOGAN LANDRY

versus . youn
PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC, Cae ONT ANDRY C
POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
POSIGEN OF LOUISIANA LLC, TOM NEYHART

To: POSIGEN OF LOUISIANA LLC

THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:

THOMAS NEYHART

819 CENTRAL AVE STE 210

JEFFERSON LA 70121

IMAGED Ale 1 8 207

PARISH OF JEFFERSON

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/s/ Giselle A Leglue
Giselle A Leglue, Deputy Clerk of Court for

Jon A. Gegenheimer, Clerk of Court

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VERIFICATION 170810 sae _-.
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(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF eunc.
VERIFICATION 170810-9408-0
24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON

 

 

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= STATE OF LOUISIANA
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x LOGAN LANDRY
= versus . we HH
“=  PSOIGEN INC, POSIGEN LLC, POSIGEN GP LLC, Cae NS ANDRY
4 POSIGEN ENERGY EFFICIENCY OF LOUISIANA LLC,
5 POSIGEN OF LOUISIANA LLC, TOM NEYHART
= To: POSIGEN ENERGY EFFICIENCY OF LOUISIANA
== LLC
THROUGH ITS REGISTERED AGENT FOR SERVICE
OF PROCESS:
THOMAS NEYHART
819 CENTRAL AVE STE 210
JEFFERSON LA 70121¢
PARISH OF JEFFERSON
You are hereby summoned to comply with the demand contained in the PETITION FOR
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Giselle A Leglue, Deputy Clerk of Court for
Jon A. Gegenheimer, Clerk of Court q
SERVICE INFORMATION
(101) CITATION: PETITION FOR DAMAGES; AFFIDAVIT OF ; OD
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Unable to serve: .
___ Not at this address ___ Numerous attempts __ times >
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JON A. GEGENREIMER

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